Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 1 of 29. PagelD #: 38

THE HUNTINGTON NATIONAL BANK

COLUMBUS O11 43216-1558 () Huntington

GRAY MATTER GROUP INC. Have a Question or Concern?
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N ROYALTON OH 44133-5104 Stop by your nearest

Huntington office or
contact us at:

1-800-480-2001

www. huntington.com/
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Huntington FastTrack Business Checking Account: -------8036
_ . Beginning Balance SCC
Statement Activity From:
04/01/22 to 04/30/22 Credits (+) OCOOOG
Electronic Deposits eC
Days in Statement Period 30 Wire Transfer Credits VON
Other Credits FSC
Average Ledger Balance* CCE po gue Checks Paid KOCOOOS
Average Collected Balance OCOe, Electronic Withdrawals SCC
The above balances correspond to the Wire Transfer Debits NOOrereN
service charge cycle for this account. Other Debits ECCCCS
Total Service Charges (-) Lee
Ending Balance RSCCECS
Other Credits (+) Account:-------8036
Date Amount Description
04/04 OGG: VOR LLL LLL LLL LL, ORL LLL LLL
04/11 TOOL ORL LLL LG,
04/1 ee ECE LLL LE LLL LL LLL LLL
04/2 TOOL ORM LLG LLL LL LLY GML LLL DLL GL LL LS,
ORL LL LLL LLL LLL,
04/13 eee, ECOG L LOL LLL LLL LLL LLL LDL LLL LLL LLL GLEE LS,
FEEL LLL ELLE LLL,
04/4 OEE, ORO MLO L LLL LLL LLL LLL LLLLGGG LLL LDS
ORL L LLL LLL LLL LL,
04/20 ECOOS IEEE LLL EEL LLL LLL VOLLLLLLLL
04/20 TOOL ORL LL LLL LLL LLL, VELL LLL,
04/29 TOOL ORL LLL LLL LLL LLL VELL LLL,
Checks (-) Account:-------8036
Date Amount Check # Date Amount Check #
04/04 KOXOeLeX ran

(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.

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Statement Period from 04/01/22 to 04/30/22 Page 1 of 3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 2 of 29. PagelD #: 39

Other Debits (-)

(A) Huntington

Account:-------8036

Date

04/01
04/01
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04/01
04/01
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Service Charge Detail

PAYPAL INST XFER 220424 1AND1 INC

Account:-------8036

Service Charge (-)

Waives and Discounts (+)

Description

Statement Period from 04/01/22 to 04/30/22 Page 2 of 3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 3 of 29. PagelD #: 40

1) Huntington

Service Charge Detail Account:-------8036
Date Service Charge (-) Waives and Discounts (+) Description
04/15 Kerex ECE L ELI OL,
04/15 irerex CCC CECE COE
Service Charge Summary Account:-------8036
Previous Month Service Charges (-) XCCcEee

Credits - Previous Month Charges (+) ree
Net Service Charges xCcee
Total Service Charges (-) XCCee
Balance Activity Account:-------8036
Date Balance Date Balance Date Balance
03/31 LOCO, 04/12 OC, 04/20 OOOO,
04/01 LOCC, 04/13 LOCCee, 04/21 LOCO,
04/04 ECCS, 04/14 ECO, 04/25 FECES,
04/05 LOCC, 04/15 OCC, 04/28 VOOOON
04/06 LOCOCO, 04/18 OOOO, 04/29 VOC
04/14 eee | 04/19 FEC,

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paymenis, or purchases), please call either 1-614-480-2001 or call toll free 1-800-480-2001, or write to The Huntington National Bank Research
- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
information about an electronic fund transfer on the statement or receipt. We must hear from you no later than 60 days after we sent you the
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1. Tell us your name, your business's name (if appropriate) and the Huntington account number (if any).

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3. Tell us the dollar amount of the suspected error. We will investigate your complaint or question and will correct any error prompily.

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1-800-480-2001.

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Statement Period from 04/01/22 to 04/30/22 Page3 of 3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 4 of 29. PagelD #: 41

IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT\(s)

We have made important changes to your business checking, savings and money market account(s) as described in this
notice. Please retain this document for your records as these changes apply to your Funds Availability Policy for Business
Banking Customers.

If you have questions or would like a complete copy of the documents referenced above simply visit your local Huntington
office, call your Banker or call (800)-480-2001 to speak to a Customer Service Center Specialist. Please note the changes
below may not be available in all deposit channels supported by Huntington and which may be used by you at this time.

Effective April 24, 2022, the following are changes to the Funds Availability Policy for Business Banking Customers.

1. Within Section 2 of the Funds Availability Policy titled STEP TWO: DETERMINING THE AVAILABILITY OF
YOUR DEPOSIT, subparts a(i)(1) and a(i)(2) are amended as follows:

CASH Deposits: The entire amount will be available immediately the SAME DAY as the day we receive your deposit.

CHECK Deposits: The first $500 of your total check deposits MAY be available to you immediately on that same day
we receive your deposit. For check deposits made from Saturday through Monday and Federal Holidays, up to $500 in
total may be available immediately from all your check deposits over those days. The remaining amount will be
available the NEXT BUSINESS DAY after the business day we receive your deposit.

2. Within Section 2 of the Funds Availability Policy titled STEP TWO: DETERMINING THE AVAILABILITY OF
YOUR DEPOSIT, subpart a(ii)(1) is amended as follows:

CASH Deposits: The entire amount will be available immediately the SAME DAY as the day we receive your deposit.

3. Within section 3 of the Funds Availability Policy titled STEP THREE: DETERMINNG IF WE HAVE PLACED A
HOLD ON YOUR DEPOSIT, subpart (b)(@) Huntington Mobile App is amended by deleting the third sentence and
replacing it with the following:

If you have been a checking, savings, or money market customer with us for longer than 30 days, the first $500 of your
total check deposits MAY be available to you immediately on that same day we receive your deposit. For check
deposits made from Saturday through Monday and Federal Holidays, up to $500 in total may be available immediately
from all your check deposits over those days.
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 5 of 29. PagelD #: 42

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Huntington FastTrack Business Checking Account: -------8036
_ . Beginning Balance ECCS
Statement Activity From:
04/01/21 to 04/30/21 Credits (+) LOCO,
Electronic Deposits eC
Days in Statement Period 30 Debs Oe,
Average Ledger Balance* NOrererer CHa aie teat thee OOO,
Average Collected Balance FSC Other Debits OOOOX
The above balances correspond to the Total Service Charges (-) ered
service charge cycle for this account. Ending Balance LeCCCS
Other Credits (+) Account:-------8036
Date Amount Description
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04/13 TOOL ORL LL LLL LLL LL LLL LLL LLL LS,
04/21 TOOL ORL LLL LLL LLL LL LLL LLL LLL
04/29 KOLO —-_—HLALALOLOLOLOLOLOLOLOOOCC CCC COOOOS,
04/30 CEE KCC CCC eas
Checks (-) Account:-------8036
Date Amount Check # Date Amount Check #
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statement or 4) been included in a list of checks.

Other Debits (-) Account:-------8036
Date Amount Description

04/01 VECO VERE LLL LLL LLL LLL LLL LL

04/02 KE LECCE ELLE LLL LL LLL LLL LLL L LEEW D EES,
04/02 XE WOKE OCC ELL LLL LLL LLL LIONEL LLL LILLE:
04/05 XL LECCE CCC OCC EES,

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Statement Period from 04/01/21 to 04/30/21 Page 1 of 3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 6 of 29. PagelD #: 43

Other Debits (-)

(A) Huntington

Account:-------8036

Date

04/05
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Service Charge Detail

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PAYPAL INST XFER 210425 1AND1 INC

Account:-------8036

Date

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04/15
04/15
04/29
04/15

Service Charge (-)

Waives and Discounts (+) Description

Statement Period from 04/01/21 to 04/30/21 Page 2 of 3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 7 of 29. PagelD #: 44

|) Huntington

Service Charge Summary Account:-------8036
Previous Month Service Charges (-) xe

Credits - Previous Month Charges (+) ree
Net Service Charges rece

Other Charges (-) ree
Total Service Charges (-) Oreo
Balance Activity Account:-------8036
Date Balance Date Balance Date Balance
03/31 meee | 04/13 meen | 04/22 KOLexerex
04/01 meme | (04/15 meme | 04/23 KOS
04/02 meme | 04/16 Heme | 04/26 Keerere
04/05 meme | 04/19 meme | 04/28 Kererere
04/07 meme | 04/20 meme | 04/20 Keerere
042 meee | 04/21 meee | 04/30 Keerere

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1-800-480-2001.

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Statement Period from 04/01/21 to 04/30/21 Page3 of 3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 8 of 29. PagelD #: 45

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Huntington FastTrack Business Checking Account: -------8036
_ . Beginning Balance SCC.
Statement Activity From:
12/01/21 to 12/31/21 Credits (+) LOCOCO
Electronic Deposits CECE
Days in Statement Period 31 Debs OOS
Average Ledger Balance* SOOO CHa aie teat thee KOC
Average Collected Balance CCC Wire Transfer Debits OOOO®,
The above balances correspond to the Other Debits NOOrereN
service charge cycle for this account. Total Service Charges (-) Nee
Ending Balance LCCC
Other Credits (+) Account:-------8036
Date Amount Description
12/01 CO =—-«EWWTWIWOTOTOTOTOIO) 120121 XXXXXXX7053
12/02 TOOL ORL LLL LLL LLL LLL LLL LLL,
12/0 ECE LECCE CECA
12/4 ECC, EEE LLLLLL ELLE LLL,
12/14 ECOL, ORL LLL LLL LL LLL LLL LLL LLL LS,
12115 LEE LACE CCE MOOI
1215 XEN LCCC CCC CCC CCIE
12/23 XE LECCE CCC OOOO COS
12/29 ECON EEE LLL LLL LLL LLL LLL LLL LS,
12/80 Kee ORME LLL
Checks (-) Account:-------8036
Date Amount Check # Date Amount Check #
12/14 KOXOLeLeX rm 12/7 KOXOLeLeX in
12/07 KOXOXee rn 12/21 KOXOeLeX in
12/09 KOXOXexe rm

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Statement Period from 12/01/21 to 12/81/21 Page 1 of3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 9 of 29. PagelD #: 46

Other Debits (-)

(A) Huntington

Account:-------8036

Date

12/02

12/06
12/08
12/09
12N0
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12/3
12N3
12N3
12N3
12N3
12/3
12N3
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124
125
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12/6
12/16
12N7
12/20
12/20
12/20
12/21
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PAYPAL INST XFER 211210 1AND1 INC
APPLECARD GSBANK PAYMENT 121221 2614306

Statement Period from 12/01/21 to 12/31/21 Page2of3
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 10 of 29. PagelD #: 47

() Huntington

Service Charge Detail Account:-------8036
Date Service Charge (-) Waives and Discounts (+) Description

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12/15 erex LECCCCOACOS,
12/15 inexex LECCE CECE ELS
12/15 KOLOX CCC OEE EEE
Service Charge Summary Account:-------8036
Previous Month Service Charges (-) XCCcEee

Credits - Previous Month Charges (+) ree
Net Service Charges cee
Total Service Charges (-) xO
Balance Activity Account:-------8036
Date Balance Date Balance Date Balance
11/80 VOOCOeK 12/13 OCC, 12/23 VOOOON
12/01 meen | 12/14 meee | 12/27 Nerexexex
12/02 OOCOeK 12/15 LOECCee, 12/28 VOOOO
12/06 memes | 12/16 neeeee | 12/20 KOO
12/07 VOOOeK 12/17 OCS, 12/80 OOOO,
12/08 memes | 12/20 meee | 12/31 KeLererexe)
12/09 VOCOOK 12/21 LECCE
12/10 meme | 12/22 Iexexerex

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Statement Period from 12/01/21 to 12/31/21 Page3 of 3
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Huntington FastTrack Business Checking Account: -------8036
_ . Beginning Balance ECCS
Statement Activity From:
01/01/21 to 01/31/21 Credits (+) LOCO,
Electronic Deposits eC
Days in Statement Period 31 Debs OCS
Average Ledger Balance* ROCCO CHa aie teat thee OOOe
Average Collected Balance FSC Other Debits OOOOX
The above balances correspond to the Total Service Charges (-) ree
service charge cycle for this account. Ending Balance RECCCCS
Other Credits (+) Account:-------8036
Date Amount Description
01/05 ECOOS KEEL L LLL LLL LL LLL LLL LLL ELS,
01/07 OEE, ORL LLL LLL LLL LLL LLL L GS,
01/08 OEE, ORL LLL LLL LLL LL LLL LL LLL
O15 EOS, EEE LLL LLL LLL LL LLL LLL ELL,
01/22 OEE, ORL LLL LLL LLL LLL LLL LLL LES,
01/22 OCS, KEELE LLL LLL LLL LLL LLL LLL ELLE,
01/27 OGG: ORL LLL LLL LLL LL MLO L LLL,
01/29 TOOL ORL LLL LLL LLL LL LLL LLL,
01/29 eee, ECOL OOL LLL LL LLL LS, VORLLLL LLL LLL LLL LLL
EERE LEE,
Checks (-) Account:-------8036
Date Amount Check # Date Amount Check #
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01/04 OOO VON

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Statement Period from 01/01/21 to 01/31/21 Page 1 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 12 of 29. PagelD #: 49
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(4) Huntington

Account:-------8036

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LAG 210104 W4150

Statement Period from 01/01/21 to 01/31/21 Page 2 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 13 of 29. PagelD #: 50

(A) Huntington

Other Debits (-) Account:-------8036

Date Amount Description

o1/g MX LCCC COOC COON

01/19 KE LECCE CCAM

01/9 KE LCCC CCOCCOON

aig MX LECCE OON

01/9 LE LCCC COCO ELS

o1/g KE LOCOCO OOOO EELS,

01/20 LA LCCC COO,

01/20 KE LECCE COCALO OG

01/21 40.00 PAYPAL INST XFER 210120 1AND1 INC

01/22 CCL, FERRELL LLL LLL LE LL LLL LLL EES,

01/25 KEeX FOOL LLL LLL LLL LLL DELLE LL DLE LLDPE LLL
FECL LE LL EL,

01/25 MA LCCC COO COLL LAL LLL LILLE D ALE DALEDES,

01/25 MX CCC COO eee OOOO LL AOL L ELLIO EDA E DEEDES,

01/25 KCC CECE,

01/25 LX CCC COO

01/25 MX LCCC COOC COON

01/25 KE LOCC COOLS

01/27 MO LECCE CCCCCCCCCO COLELLO,
EEE ELLEL,

01/27 OCS FECL LLL MEL LLL LEME LLL

01/27 CCL, FORE LL LLL LLL LLL LLL,

01/28 KEeX FCC LLL LE LLL LLL ALLL,

01/29 KOA VOPR LM LLL LLL LLL VOLE LDL DL LLL LLL LDLE LLL,
ECE ELL,

01/29 VOX ERM ELL LLL LLLELL LLL, VERE LLL LDL LLL LL ELLE,
FECL LE LL EL,

01/29 KEeX FORMAL LLL LLL LLL VOR LL LL LL LLL LEME LOE LL:
FEEL LLL EL,

01/29 KOA VOPR LM LLL LLL LLL, VOLLMER LDL LLL LL LDELS,
FORE LLL,

01/29 KEeX FORM LLL LLL LLL LEA VOCE LLL LLL LLL LLL ERLE LL
EEC LLL LL,

01/29 KEeX FCCLA LLL LL ELL LL, VOLE LLL LLL LLL LLL LLL LLL,
VCP,

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Service Charge Summary Account:-------8036

Previous Month Service Charges (-)
Total Service Charges (-)

Statement Period from 01/01/21 to 01/31/21 Page3 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 14 of 29. PagelD #: 51

1) Huntington

Balance Activity Account:-------8036
Date Balance Date Balance Date Balance
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01/07 meen | 01/19 meme | 01/29 Nexereren

01/08 meee | 01/20 OXexOxeX

ott meen | 01/21 Keexerex

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Balancing Your Statement - For your convenience, a balancing page is available on our web site https:/Avww.huntington.com/pdf/balancing. pdf
and also available on Huntington Business Online.

Statement Period from 01/01/21 to 01/31/21 Page 4of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 15 of 29. PagelD #: 52

THE HUNTINGTON NATIONAL BANK

COLUMBLS OF A326 558 () Huntington

GRAY MATTER GROUP INC. Have a Question or Concern?
6090 ROYALTON RD
N ROYALTON OH 44133-5104 Stop by your nearest

Huntington office or
contact us at:

1-800-480-2001

www. huntington.com/
businessresources

Huntington FastTrack Business Checking Account: -------8036
Statement Activity From: Beginning Balance ECE
01/01/22 to 01/31/22 Credits (+) RELL
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Days in Statement Period 31 Electronic Deposits REC,
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The above balances correspond to the Wire Transfer Debits erereren
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Deposits (+) Account:-------8036
Date Amount Serial # Type Date Amount Serial # Type
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01/25
Other Credits (+) Account:-------8036
Date Amount Description
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01/10 XN LECCE ECE ECE EMEC EELS,
O11 XE LECCE EEC OEE ELS,
0113 XE _ KEELE CECE CEOS,
01/18 XN LCCC ECOL,
0118 KE LECCE EECCA EEE ALEC ALE EEE ALE EELS,
OCR LLL,
01119 XN LECCE EEC ECC OOS,
01/24 KEE = LECCE ECACC
01/26 XEN LECCE EEC EEE MECC LLG,
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01/27 KEE LECCE ECE,
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Statement Period from 01/01/22 to 01/31/22 Page 1 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 16 of 29. PagelD #: 53

(A) Huntington

Checks (-) Account:-------8036
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(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
statement or 4) been included in a list of checks.

Other Debits (-) Account:-------8036

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Statement Period from 01/01/22 to 01/31/22 Page 2 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 17 of 29. PagelD #: 54
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(4) Huntington

Other Debits (-) Account:-------8036

Date Amount Description

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PAYPAL INST XFER 220124 1AND1 INC

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Service Charge Detail Account:-------8036

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Service Charge Summary Account:-------8036

Previous Month Service Charges (-)
Credits - Previous Month Charges (+)

Net Service Charges

Total Service Charges (-)

Balance Activity Account:-------8036

Date

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Statement Period from 01/01/22 to 01/31/22 Page 3 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 18 of 29. PagelD #: 55

|) Huntington

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- EA4W61, P.O. Box 1558, Columbus, Ohio 43216 as soon as you can, if you think your statement or receipt is wrong or if you need more
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Statement Period from 01/01/22 to 01/31/22 Page 4 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 19 of 29. PagelD #: 56

THE HUNTINGTON NATIONAL BANK
PO BOX 1558 EA1W37

COLUMBUS OH 43216-1558 (Al Huntington

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1-800-480-2001

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businessresources

Huntington FastTrack Business Checking Account: -------8036
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Average Collected Balance* FSC Flestronic Withdraw als OOOO,
* The above balances correspond to the Wire Transfer Debits NOOrereN
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Total Service Charges (-) reed

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Deposits (+) Account:-------8036
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Other Credits (+) Account:-------8036
Date Amount Description
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09/01 KEE _ LEAL LCCC OOOO LLL LEE LE LLL
og/02 XE LECCE OOO LLL LEE EEL LLL
09/03 XE -_ LECCE ECE OEE LEELA
09/07 CEE LECCE CEC OOOO
09/08 XE  _ LECCE EEE ELL LL LLL LLL
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Statement Period from 09/01/21 to 09/30/21 Page 1 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 20 of 29. PagelD #: 57

(A) Huntington

Other Credits (+) Account:-------8036

Date Amount LCCC

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Checks (-) Account:-------8036

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(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
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Other Debits (-) Account:-------8036

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Statement Period from 09/01/21 to 09/30/21 Page 2 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 21 of 29. PagelD #: 58
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Other Debits (-) Account:-------8036

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Statement Period from 09/01/21 to 09/30/21 Page 3 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 22 of 29. PagelD #: 59

(A) Huntington

Service Charge Detail Account:-------8036
Date Service Charge EN EEN DOSES] 0 ESSE

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Previous Month Service Charges (-) CCE

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Statement Period from 09/01/21 to 09/30/21 Page 4 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 23 of 29. PagelD #: 60

IMPORTANT INFORMATION ABOUT YOUR HUNTINGTON ACCOUNT(s)

We have made important changes to your business checking, savings, and money market account(s) as described in this
notice. Please retain this document for your records as these changes apply to your Business Signature Card form, and your
Business Deposit Account Agreement ("Account Agreements") for Business Banking Customers.

If you have questions or would like a complete copy of the documents referenced above simply visit your local Huntington
office, call your Banker or call 1-800- 480-2001 to speak to a Customer Service Center Specialist.

Effective September 26, 2021, the fee description for Return Fees in the Business Account Charges Form is replaced with
the following description:
Return Fee is charged each time an item is not paid. Limit of 4 return fees per day. There is no fee for declined ATM
or debit card authorizations.

Effective November 15, 2021, for accounts owned by sole proprietors with a beneficiary designation, the "payable on
death" designation provision within the account Business Signature Card will be replaced as follows for Business Banking
customers:

Payable on Death or Deposit in Trust Account Beneficiary Designation Agreement

By designating a beneficiary and signing this Agreement, I agree and direct the balance in the account(s) listed on this
signature card shall be either payable on death ("POD") for those states permitting Payable on Death Accounts or
listed in trust for ("ITF") for those states permitting Deposit in Trust Accounts, to the beneficiary or beneficiaries that
are named on this signature card. This beneficiary designation only applies to business accounts owned by sole
proprietors. This Payable on Death or Deposit in Trust beneficiary designation is subject to additional terms and
conditions within the Business Deposit Account Agreement.

Effective November 15, 2021, within the Business Deposit Account Agreement, the "Accounts Payable on Death/Informal
Trust Account" provision within "11. Account Ownership" subpart 11(a) is removed and replaced as follows for Business
Banking customers:

a. Payable on Death/Informal Trust Accounts

i. We do not allow payable on death ("POD") or informal trust Account (also known as an "in trust for" or "Totten
Trust") designations on business accounts, except accounts owned by sole proprietors. We will consider any attempt
to designate a POD on your business account as invalid. For accounts owned by sole proprietors, the following apply.

ii. Informal Trust Accounts

An informal trust Account (also known as an "in trust for" or "Totten Trust") is an Account owned by a trustee but
without a written trust Agreement. The beneficiaries of an informal trust Account have no right to any funds in the
Account while the trustee is alive. If the trustee dies, we will transfer the Account to the beneficiaries designated on the
signature card or identified in our records

iii. Payable on Death Designation

If your account is "payable on death" ("POD") to one or more beneficiaries, the beneficiaries have no rights to your
Account as long as your alive. On your death, Huntington will pay the balance in the account to your beneficiary or
beneficiaries designated on the signature card or identified in our records who are then living. If more than one
beneficiary is living, we will pay to each of them in equal shares unless otherwise noted herein. We must be furnished
with adequate proof of death, any necessary tax releases and proper identification, and we may first deduct any
amount that any of you owe us. If you want to change beneficiaries in the POD agreement, you must sign a specific
form that we will provide to you.

iv. Special Notice for Indiana Payable on Death Accounts

If you are an Indiana resident or are opening your account in Indiana, and you make a payable on death beneficiary
designation, there is some information you need to know about that designation. Special rules apply if you designate a
beneficiary who is a lineal descendent of yours (in other words, a child, grandchild, or great-grandchild). If you
designate a beneficiary who is a lineal descendent and that beneficiary does not survive you, that beneficiary's share of
your account will pass to his or her lineal descendents in order.

(1) For example: if your daughter is one of your beneficiaries and she does not survive you, then her share of your
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account will pass first to her children that survive you, and if none, then to her grandchildren who survive you. If she
has no lineal descendants who survive you, then her share will pass to the remaining original beneficiary(ies) you
designated. If there is no surviving original beneficiary, then her share will pass to your estate.

(2) You have the right to void the above application of the law by putting the phrase "No LDPS" next to the
beneficiary's name on the designation form. If you put the "No LDPS" designation next to the beneficiary's name and
that beneficiary does not survive you, then his or her share of your account will pass to the remaining original
beneficiary(ies) you designated. If there is no surviving original beneficiary, then his or her share will pass to your
estate.

(3) The "No LDPS" only applies to a beneficiary who is your lineal descendants. This means if you designate a spouse,
friend, or nephew, for example, and he or she does not survive you, that beneficiary's share of your account will pass
to the remaining original beneficiary(ies), regardless of any "No LDPS" designation. If there is no such surviving
original beneficiary, then his or her share will pass to your estate.

v. Invalid Beneficiary Designation

Any beneficiary designation made while you are a sole proprietor will be immediately invalid if, at any time, you
incorporate or become a limited liability company, partnership, or other business entity, regardless of whether
Huntington is notified of the change in your business.

Effective November 15, 2021, within the Business Deposit Account Agreement, section "13. If You Owe Us Money" is
amended by adding the following sentence after the second sentence:

If you or any owner (joint or otherwise) is indebted to us at the time of death, we are authorized to pay any
withdrawals (such as checks) and exercise our right of set-off against the Account after such Account owner's death,
regardless of any rights that any surviving owner, including a POD or other beneficiary, may have to funds in the
Account.
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 25 of 29. PagelD #: 62

THE HUNTINGTON NATIONAL BANK

PO BOX 1558 EA1W37
COLUMBUS OH 43216-1558

GRAY MATTER GROUP INC.

6090 ROYALTON RD
N ROYALTON OH 44133-5104

Huntington FastTrack Business Checking

Account: -------8036

ji Huntington

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1-800-480-2001

www. huntington.com/
businessresources

Statement Activity From: Beginning Balance KECOCCCCK
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The above balances correspond to the Wire Transfer Debits RECCOS
service charge cycle for this account. Other Debits Rerereren
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Deposits (+) Account:-------8036
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Other Credits (+)

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Statement Period from 09/01/22 to 09/30/22 Page 1 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 26 of 29. PagelD #: 63

(A) Huntington

Other Credits (+) Account:-------8036
Date Amount LCCC

09/28 KE LCCC KOC

Checks (-) Account:-------8036
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(*) Indicates the prior sequentially numbered check(s) may have 1) been voided by you 2) not yet been presented 3) appeared on a previous
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Other Debits (-) Account:-------8036

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Statement Period from 09/01/22 to 09/30/22 Page 2 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 27 of 29. PagelD #: 64
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Service Charge Detail Account:-------8036

Date Service Charge (-) Waives and Discounts (+) Description

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Service Charge Summary Account:-------8036

Previous Month Service Charges (-)
Credits - Previous Month Charges (+)

Net Service Charges

Total Service Charges (-)

Balance Activity Account:-------8036

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Statement Period from 09/01/22 to 09/30/22 Page 3 of 4
Case: 1:23-cv-01470-CEF Doc #: 1-5 Filed: 07/27/23 28 of 29. PagelD #: 65

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1-800-480-2001.

Balancing Your Statement - For your convenience, a balancing page is available on our web site https:/Avww.huntington.com/pdf/balancing. pdf
and also available on Huntington Business Online.

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IMPORTANT INFORMATION ABOUT YOUR TREASURY MANAGEMENT SERVICES AGREEMENT

If you have Treasury Management Services through Business Online (e.g., Account Reconcilement, Automated Clearing
House ("ACH"), Automated Sweep, Business Security Suite, Cash Deposit and Fulfillment, Controlled Disbursement,
Electronic Deposit, Information Reporting, Lockbox Services, Wire Transfer, Zero Balance Accounting, etc.) please know
that unless otherwise agreed upon, changes have been made to the Treasury Management Services Agreement. A complete
copy of your updated and restated agreement effective November 1, 2022, can be viewed at
www.huntington.com/TMServiceA greement.

Changes to the Treasury Management Services Agreement are in Part XI as follows:

1. Part XI: INFORMATION REPORTING SERVICES is now "PART XI: INFORMATION REPORTING
SERVICES AND ELECTRONIC DATA TRANSMISSION.

2. A new service has been added after the first sentence, second paragraph, Section 2: "You may elect to use our services to
assist in the translation of Documents to our specific formats".

3. A clarification has been made in the last sentence of Section 5 (additional language italicized): "We shall not be
responsible for errors in, or delays regarding, information provided to us by other financial institutions,

information provided to us by you, or other non-Bank sources".

Additional changes were made to correct typos and formatting.
